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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

BLAKE LIVELY,
                                                 Case No. 1:24-cv-10049-LJL
                  Plaintiff,                     (consolidated with 1:25-cv-00449-LJL)

            -v-

WAYFARER STUDIOS LLC, JUSTIN
BALDONI, JAMEY HEATH, STEVE
SAROWITZ, IT ENDS WITH US MOVIE LLC,
MELISSA NATHAN, THE AGENCY GROUP PR
LLC, JENNIFER ABEL, JED WALLACE, and
STREET RELATIONS INC.,

                  Defendants.


JENNIFER ABEL,

                  Third-Party Plaintiff,

            -v-

JONESWORKS LLC,

                  Third-Party Defendant.

WAYFARER STUDIOS LLC, JUSTIN
BALDONI, JAMEY HEATH, IT ENDS WITH US
MOVIE LLC, MELISSA NATHAN, JENNIFER
ABEL, and STEVE SAROWITZ,

                  Consolidated Plaintiffs,

-v-

BLAKE LIVELY, RYAN REYNOLDS, LESLIE
SLOANE, VISION PR, INC., and THE NEW
YORK TIMES COMPANY.

                  Consolidated Defendants.
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        MEMORANDUM OF LAW IN SUPPORT OF BLAKE LIVELY’S
 MOTION FOR LEAVE TO SERVE THIRD PARTY CYNTHIA BARNES SLATER BY
                      ALTERNATIVE SERVICE



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        Blake Lively respectfully moves pursuant to Federal Rules of Civil Procedure (“Rules”)

4(e)(1), 4(e)(2), and 45, and New York Civil Practice Law and Rules (“C.P.L.R.”) §§ 308(1)–(5),

to request leave to serve third party Cynthia Barnes Slater for the pendency of the above-referenced

action by alternative means. Specifically, and as described herein, Ms. Lively requests leave to

serve Ms. Barnes Slater by a combination of affixing and mailing a copy of the subpoena to Ms.

Barnes Slater’s last known address (“nail and mail service”), email, telephone, and social

media after nine unsuccessful attempts to serve Ms. Barnes Slater at her last known address.

                                             BACKGROUND

        Ms. Barnes Slater is a key witness to Ms. Lively’s claims. During the relevant time

period, Ms. Barnes Slater served as Head of Human Resources of Wayfarer Studios, LLC

(“Wayfarer”) and a Board Member and Treasurer of The Wayfarer Foundation. Wayfarer’s

human resources is directly at issue in this litigation. See, e.g., ECF No. 84 ¶ 112. To Ms.

Lively’s knowledge, Ms. Barnes Slater is still a Wayfarer employee.

        On June 19, 2025, Ms. Lively sent notice to counsel of her intent to serve Ms. Barnes

Slater with a Rule 45 subpoena (“Subpoena”). On June 20, Ms. Lively engaged a process

server to attempt service at Ms. Barnes Slater’s last known address in Claremont, California.

As explained thoroughly in Nick Shows’s Affidavit of Due Diligence (Ex. A, “Shows Aff.”) 1,

Mr. Shows attempted service at that address on nine separate occasions, at various times of day,

employing different methods. See generally Shows Aff. On one of those occasions, Mr.

Shows waited outside Ms. Barnes Slater’s apartment for over two hours in an effort to serve

her. See id. (July 1 attempt). In addition to knocking on the apartment door, Mr. Shows spoke

to a neighbor who was unfamiliar with Ms. Barnes Slater. See id.


1
  Citations to “Ex.” refer to the exhibit attached to the Declaration of Kristin E. Bender (“Bender Decl.”) filed
contemporaneously herewith.
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In addition to the nine attempts to personally serve Ms. Barnes Slater, Ms. Lively contacted

counsel for the Wayfarer Parties to determine whether they do or would be representing Ms.

Barnes Slater in this matter and would be willing to accept service via email. Counsel for the

Wayfarer Parties advised that they do not represent Ms. Barnes Slater, and other counsel did not

respond. See ECF No. 410-1 at 2.

                                                  ARGUMENT

         As this Court has explained, see ECF No. 356 at 2, “Federal Rule of Civil Procedure 45

states that ‘[s]erving a subpoena requires delivering a copy to the named person.’” Id. (quoting

Fed. R. Civ. P. 45(b)(1)). However, courts have authorized alternative service when a party has

“demonstrate[d] a prior diligent attempt to personally serve.” Id. (quoting Kenyon v. Simon &

Schuster, Inc., 2016 WL 5930265, at *3 (S.D.N.Y. Oct. 11, 2016)); see also JPMorgan Chase

Bank, N.A. v. IDW Grp., LLC, 2009 WL 1313259, at *2–3 (S.D.N.Y. May 11, 2009); Sec. & Exch.

Comm’n v. Pence, 322 F.R.D. 450, 454 (S.D.N.Y. 2017). 2 “Alternative service must be reasonably

calculated to ensure the witness actually receives the subpoena.” Id. at 2 (collecting cases).

Alternative service is appropriate here given Ms. Lively’s numerous diligent attempts to personally

serve Ms. Barnes Slater, and the availability of alternative methods that are reasonably calculated to

ensure Ms. Barnes Slater will actually receive the subpoena.

         Ms. Lively respectfully requests that the Court enter an order permitting Ms. Lively to

serve Ms. Barnes Slater via a combination of nail and mail service, email, telephone, and

Instagram. Ms. Lively has been able to find an email address and telephone number for Ms.


2
  Some courts “have suggested that alternative service under Rule 45 must be accomplished in accordance with Rule
4, which in turn . . . permits service on an individual to be made in accordance with the state law where the district
court sits or where service is made.” Id. at 4 n.1 (quoting Pence, 322 F.R.D. at 455). In New York, alternative service
is appropriate under the CPLR when traditional methods are “impracticable.” Id. (quoting N.Y. C.P.L.R. 308(5)).
Here, whether applying the “prior diligent attempt” standard or an “impracticable” standard, alternative service is
appropriate given the numerous various unsuccessful attempts at traditional service.
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Barnes Slater and Ms. Barnes Slater has a visible Instagram profile that Ms. Lively can

privately message.3 This district—and this Court—has held that service via email and social

media are proper “backstop” means of service. See ECF No. 356 at 3–4 (permitting service in part

via LinkedIn); see also Pence, 322 F.R.D. at 455–56 (finding proper means of service by

telephone call with voicemail, email, or fax); Hardin v. Tron Found., 2020 WL 5236941, at *2

(S.D.N.Y. Sept. 1, 2020) (authorizing service by email and LinkedIn); F.T.C. v. PCCare247 Inc.,

2013 WL 841037, at *4–6 (S.D.N.Y. Mar. 7, 2013) (allowing service via Facebook message in

addition to email); In re Terrorist Attacks on Sept. 11, 2001, 2022 WL 1088567, at *5 (S.D.N.Y.

Apr. 5, 2022) (authorizing service by publication and Twitter); In re Bibox Grp. Holdings Ltd.

Secs. Litig., 2020 WL 4586819, at *2 (“[S]ervice via known social media accounts is

permissible.”); Kumar v. Alhunaif, 2023 WL 8527671, at *5 (S.D.N.Y. Dec. 8, 2023)

(allowing service through WhatsApp and Facebook). In light of the impracticability of

serving Ms. Barnes Slater by personal service, alternative service by nail and mail service,

email, telephone, and social media—the only means Ms. Lively is aware of to reach Ms. Barnes

Slater (other than possibly through the Wayfarer Parties or their counsel)—is appropriate here.

Ms. Barnes Slater is “likely to receive . . . service through the alternative method[s]”

proposed here, which will provide Ms. Barnes Slater with “timely actual notice” of documents

in this litigation. Freeman, 2024 WL 5054913, at *2.

                                                  CONCLUSION

           For the foregoing reasons, the Court should enter an order to permit Ms. Lively to serve

Ms. Barnes Slater by a combination of nail and mail service, email, telephone, and Instagram

for the pendency of this action.



3
    See https://www.instagram.com/cbslater9/ (showing a June 22, 2025 update).
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                                                   Respectfully submitted,

Dated: July 18, 2025                               /s/ Kristin E. Bender


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